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                                          11   Planet Aid Inc. and Lisbeth Thomsen
                                          12                          UNITED STATES DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                          13

                                          14    PLANET AID INC.; and LISBETH                Case No. 17-cv-03695-JSC
                                                THOMSEN,
                                          15
                                                              Plaintiffs,                   PLAINTIFFS’ MEMORANDUM IN
                                          16
                                                       v.                                   OPPOSITION TO DEFENDANTS’
                                          17                                                ATTORNEY FEE APPLICATION FOR
                                                REVEAL, CENTER FOR INVESTIGATIVE            FEES ON FEES
                                          18    REPORTING; MATT SMITH; and AMY
                                                WALTERS,                                    Judge: Hon. Maxine Chesney
                                          19
                                                              Defendants.                   DATE: August 27, 2021
                                          20                                                TIME:
                                                                                            LOCATION: San Francisco Courthouse
                                          21                                                            Courtroom 7- 19th Floor
                                                                                                        450 Golden Gate Ave.
                                          22                                                            San Francisco, CA 94102
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                                           1                                         INTRODUCTION

                                           2          Defendants’ previous fee application sought almost $4 million in attorneys’ fees.

                                           3   They now seek an additional $305,541 for filing their fee application (the “Fees on Fees

                                           4   Request”). We have addressed herein solely those newly submitted materials presented for

                                           5   the first time in Defendants reply directed to fees on fees.

                                           6          Some of the issues and errors arising in connection with the original fee application

                                           7   simply reemerge in connection with the Fees on Fees Request. For example, the most

                                           8   sensible approach to the Fees on Fees Request is to follow the Court’s approach in CoreCivic,
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                                           9   and await guidance from the Ninth Circuit on the gatekeeping issue of whether the Motion

                                          10   to Strike is even appropriately heard in federal court. See CoreCivic v. Candide, No. C-20-

                                          11   03792-WHA, 2021 WL 1267259 (N.D. Cal., 04/06/2021). While asking that the issue of fees

                                          12   be decided now, contrary to that approach, see ECF 324 at 2-3, Defendants have not even tried

                                          13   to argue that the holding in CoreCivic is inappropriate. Nor have they tried to dispute that the

                                          14   decision in Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398-99

                                          15   (2010), renders it inappropriate to assess any fees under the California anti-SLAPP statute.

                                          16   The Fees on Fees Request makes the CoreCivic holding even more appropriate since it requires

                                          17   the Court to spend considerable time and energy analyzing an additional 521.50 hours claimed

                                          18   by Defendants solely in connection with the Fees on Fees Request without knowing how the

                                          19   Ninth Circuit will rule on the applicability of the anti-SLAPP statute in federal court.

                                          20          If the Court nevertheless wades into what Judge Alsup called the “bonebreaking”

                                          21   exercise of resolving fee disputes, it is apparent that Fees on Fees should be scaled back

                                          22   substantially or denied altogether. Notwithstanding that their earlier $4 million request was

                                          23   based on fees shown by Mr. Pierce to exceed those deemed reasonable, as shown in our

                                          24   memorandum in opposition to the initial application, defendants have now upped the ante by

                                          25   seeking hourly rates which are even higher than those sought previously, and contain many

                                          26   of the same flawed billing practices denounced by expert Clem Glynn.

                                          27   ///

                                          28   ///
                                                                                                           PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                                                                                                                         DEFENDANTS’ ATTORNEY FEE
                                                                                                                        APPLICATION FOR FEES ON FEES
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                                           1                                           ARGUMENT

                                           2            I.     THE FEES ON FEES REQUEST OFFERS ADDITIONAL REASONS
                                                               WHY THE COURT SHOULD DEFER RULING UNTIL AFTER
                                           3
                                                               THERE IS GREATER CLARITY ON WHETHER THE ANTI-
                                           4                   SLAPP STATUTE EVEN APPLIES IN FEDERAL COURT.

                                           5            Plaintiffs previously briefed the reasons why the fee issue should be reserved until

                                           6   after the Ninth Circuit can rule on whether the decisions in Shady Grove Orthopedic

                                           7   Assocs., and La Liberte v. Reid, 966 F.3d 79, 85 (2d Cir. 2020) (holding that the California

                                           8   statute is inapplicable in federal court), allows the filing of an anti-SLAPP motion in federal
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                                           9   court.

                                          10            We want to bring to the Court’s attention a recent case handed down after our initial

                                          11   brief was filed, and which is applicable both to the original fee application as well the Fees

                                          12   on Fees Request. In Pledger v. Lynch, No. 18-2213, 2021 WL 3072861 (4th Cir. 7/21/21), the

                                          13   Fourth Circuit held, based on Shady Grove, that state statutory provisions cannot apply in

                                          14   federal court to the extent that they answer the same question posed by federal rules or

                                          15   statutory provisions. Id., at *5. As applied to the present dispute, federal provisions, among

                                          16   others, rules 11 and 37, 28 U.S.C. §1920 or Local Rule 54, answer the same question posed

                                          17   by defendants’ application, namely whether they are entitled to attorneys’ fees and costs.

                                          18            In fact, the Fees on Fees Request brings into sharp focus why the state anti-SLAPP

                                          19   statute should not even apply in federal court, particularly to a fee application. As stated

                                          20   above, pursuant to Shady Grove, a state statute cannot apply in federal court if it answers the

                                          21   same question as a federal provision or rule. Here, the fee provisions in the anti-SLAPP

                                          22   statute address the same issue as, among other rules, Fed.R.Civ.P. 11, which determines

                                          23   whether a successful party is entitled to attorneys’ fees. That federal rule has been construed,

                                          24   specifically, to not allow “fees on fees.” Lockary v. Kayfetz, 974 F.2d 1166, 1178 (9th Cir.

                                          25   1992)(holding that the “district court erred in including the defendants' attorneys' fees for

                                          26   preparing their motion for sanctions in the sanctions it imposed.”).

                                          27   ///
                                          28
                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                            ATTORNEY FEE
                                                                                           -2-                               APPLICATION FOR FEES ON FEES
                                                                                                                                        17-CV-03695-JSC
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                                           1            There is no rational basis for construing the attorney-fee provision of the anti-SLAPP

                                           2   statute in a way which has been directly rejected by the Ninth Circuit when considering

                                           3   Fed.R.Civ.P. 11.

                                           4
                                                        II.     EACH OF THE REASONS FOR DENYING THE ORIGINAL FEE
                                           5                    APPLICATION ALSO APPLY TO THE FEES ON FEES REQUEST.

                                           6            Plaintiffs offered several reasons why the original fee application should be
                                           7   denied, including that it seeks fees which far exceed the statutory purpose of reimbursing
                                           8   a defendant for fees actually paid by them, the rule of “constitutional avoidance” warrants
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                                           9   denying the application, and Defendants have failed to sustain their burden of showing
                                          10   the reasonableness of hourly rates and time expended on particular tasks. Each of those
                                          11   grounds are equally applicable to the Fees on Fees Request and are incorporated herein.
                                          12            It is worth responding specifically, however, to Defendants’ demand that Plaintiffs
                                          13   “pay the price” for having filed this lawsuit by paying $300,000 in fees. See ECF 324 at 6.
                                          14   This comment suggests that in addition to seeking an outrageous recovery for their own
                                          15   financial gain, Defendants are out to make a statement to anyone who dares to exercise their
                                          16   First Amendment rights to seek redress in federal court. Courts have already warned that
                                          17   fee shifting provisions, including in the anti-SLAPP arena, have the capacity to chill the
                                          18   exercise of First Amendment rights of those seeking to petition courts for the redress of
                                          19   grievances. See, e.g., City of Montebello v. Vasquez 1 Cal.5th 409 (2016) (concurring
                                          20   opinion) (anti-SLAPP case) (“We have recognized that a fee-shifting statute that awards
                                          21   attorney fees to prevailing defendants carries the risk of chilling meritorious lawsuits.”);
                                          22   Williams v. Chino Valley Independent Fire Dist., 61 Cal.4th 973 (2015)(finding that “even
                                          23   ordinary litigation costs can be substantial, and the possibility of their assessment could
                                          24   significantly chill the vindication of employees’ civil rights”). Telling those who wish to
                                          25   file a lawsuit that they may have to “pay the price” for exercising their constitutional right
                                          26   to seek redress in court is no more appropriate when said to someone exercising their First
                                          27   Amendment rights than it would be for those seeking to exercise any other constitutional
                                          28   right.
                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                            ATTORNEY FEE
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                                           1          III.    DEFENDANTS’ REQUEST FOR FEES ON FEES IS EXCESSIVE

                                           2         Defendants seek over $300,000 for filing their fee application and reply. Just as in

                                           3   any fee request, “the fee applicant bears the burden of documenting the appropriate hours

                                           4   expended,” as well as the reasonableness of hourly rates. Gates v. Rowland, 39 F.3d 1439,

                                           5   1449 (9th Cir. 1994)(quoting Gates v. Deukmejian, 987 F.2d 1392, 1397-98 (9th Cir.

                                           6   1992). See also Hensley v. Eckerhart, 461 U.S. 424, 437 (1983). That requirement

                                           7   certainly applies where, as here, defendants are seeking over $300,000 simply for

                                           8   compiling and filing a fee application.
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                                           9          Putting together the fee application was hardly so complex, detailed or difficult that
                                          10   it required over 500 hours of attorney time (168.8 hours by Davis Wright and 352.7 hours by
                                          11   Covington). Neither firm even included the most basic evidence, such as a breakdown of the
                                          12   activity, how much time was spent on each task, and what hourly rates were charged for
                                          13   performing that task – information one usually would expect to see in a fee application. See
                                          14   ECF 321-6 (Glynn Decl.), ¶11. Evidently no time was spent on the Reply in order to respond
                                          15   to Plaintiffs’ extensive breakdown and attempt to explain how much time was spent on each
                                          16   task, instead offering a critique here and there, barely mentioning the methodology or results
                                          17   by plaintiffs’ experts. Whether or not that response is sufficient to win the day on the fee
                                          18   application, it hardly justified charges of over $300,000 in order to prepare that response.
                                          19         No expert was retained, which might have explained some additional cost had
                                          20   defendants gone down that route. As far as the Fees on Fees, no discovery was required. That
                                          21   eliminates relying on the thin excuse given previously for seeking approximately $4 million
                                          22   in fees for litigating the anti-SLAPP motion. No declarations offering any detailed review
                                          23   of dense factual material was offered. And as stated above, neither of the two defense
                                          24   declarations offer even a compilation of the most basic information: what hourly rates were
                                          25   charged by each attorney for compiling the Fees on Fees Request, and how much time was
                                          26   expended by each attorney or paralegal on each task.
                                          27   ///

                                          28   ///
                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                            ATTORNEY FEE
                                                                                          -4-                                APPLICATION FOR FEES ON FEES
                                                                                                                                        17-CV-03695-JSC
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                                           1         While we discuss below specific reasons why the Fees on Fees Request should be

                                           2   denied completely or at least reduced dramatically, it is obvious that the Request on its

                                           3   face is excessive. Emblematic of defendants’ excessive billing practices, Mr. Frankel

                                           4   asks the Court to award him $2550 in fees for “travel” to attend a hearing on fees. See

                                           5   ECF 324-2. That hearing has yet to occur, and in all likelihood, will never require any

                                           6   travel since the court has not been holding live in-person hearings due the COVID

                                           7   pandemic. See ECF 324-2 *July entry (Frankel)*2.5 hours) (“Prepare for, travel to and

                                           8   from, Fees Hearing”). He also includes 6 hours for two associates to prepare for that
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                                           9   hearing. See id. Arghavani (3.0 hours); Shi (3.0 hours).

                                          10
                                                     As shown below, Mr. Frankel’s time entry (on top of an already $4 million request)
                                          11
                                               was not the result of an isolated act of exuberance. It reflects a pattern throughout the fee
                                          12
                                               requests by both firms of seeking unreasonable amounts.
                                          13
                                                      A. FEES ON FEES ARE OUT OF LINE WITH EVERY SINGLE CASE IN
                                          14             THIS DISTRICT
                                          15         Defendants Fees on Fees Request nowhere takes issue with the point made in our
                                          16   opening brief, that it is appropriate to consider how an application compares with awards in
                                          17   other cases – an approach which defense counsel have themselves urged. See ECF 321 at
                                          18   14. That comparison is telling and demonstrates the utterly excessive nature of the Fees on
                                          19   Fees Request. Here, the amount sought for Fees on Fees of over $300,000 would constitute
                                          20   the third-highest award found in this District — not just for Fees on Fees, but for the entire
                                          21   case related to the anti-SLAPP motion. See ECF 321-2, Ex. A. That is plainly excessive
                                          22   on its face. Defendants have not cited – and we are unable to find – any case which comes
                                          23   even close to justifying the fees on fees now sought here.
                                          24         It is worth comparing the Fees on Fees Request with the Court’s ruling in CoreCivic,
                                          25   which found that “a reasonable time expenditure for an anti-SLAPP motion [is] . . . between
                                          26   40 and 75 hours, not 407.9 hours” sought by Davis Wright in that case. ECF 321 at 26. Here,
                                          27   Defendants are seeking 521.5 hours just for their Fees on Fees Request!
                                          28   ///
                                                                                                    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                           ATTORNEY FEE
                                                                                          -5-                               APPLICATION FOR FEES ON FEES
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                                           1          B. THE HOURLY FEES CLAIMED BY DEFENSE COUNSEL ARE EVEN
                                                         HIGHER THAN THOSE DEEMED EXCESSIVE BASED ON THE
                                           2             LODESTAR STANDARD.
                                           3          Defendants acknowledge that if the rates found to be reasonable in this District and

                                           4   surrounding community are applied, as determined by plaintiffs’ expert (Mr. Pierce) that

                                           5   alone would result in a reduction of almost $1.5 million in fees on the original application,

                                           6   even if no other errors or adjustments were deemed appropriate. See ECF 324 at 19.

                                           7          As if that were not enough, Defendants have now increased their hourly rates for

                                           8   the Fees on Fees Request, seeking fees that are even higher than those determined by Mr.
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                                           9   Pierce previously to be reasonable. With absolutely no evidence that any court has

                                          10   accepted the new rates sought for Fees on Fees, defendants simply offer conclusory

                                          11   assertions that these rates are reasonable. The following chart compares the new rates

                                          12   sought for preparing the fee application with those deemed reasonable by Mr. Pierce, as

                                          13   reflected in his declaration submitted in opposition to the original request. It also sets

                                          14   forth the amount which should be disallowed based on defense counsel’s excessive rates:

                                          15
                                                           Attorney       Rate Found Rate Charged    Hours in   Overcharge
                                          16                                 to Be      in Fees on Fees on Fees   based on
                                                                           Reasonable Fees Request   Request      Loadstar
                                          17           Thomas Burke       $650        $845         69.7         $13,591.50
                                          18
                                                       Simon Frankel      $625            $1020             34.6              $13,667.00
                                          19
                                                       Ambika Kumar       $500            $725              .8                $180.00
                                          20

                                          21           Alexa Hanson       $450            $975              16.5              $8,662.50
                                                       Brendon            $415            $570              45.5              $7,052.50
                                          22           Charney
                                          23           Annie Shi          $300            $635              104.9             $35,141.50

                                          24           Miriam             $300            $595              150.3             $44,338.50
                                          25           Arghavani
                                                       William Jarboe     $180            $460              184.7             $51,716.00
                                          26
                                                       Sarah Burns        $335           $475              59.40              $8,316.00
                                          27

                                          28
                                                                                                    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                           ATTORNEY FEE
                                                                                          -6-                               APPLICATION FOR FEES ON FEES
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                                           1           Noel Nurrenbern $180                $380             10.10              $2,020.00

                                           2
                                                       Excessive charges which should be disallowed                           $184,685.50
                                           3           based on unreasonably high hourly rates

                                           4

                                           5           Curiously, Defendants make no attempt to justify their rate increases in their latest
                                           6   filing over what they sought previously, and refer to rates awarded in two other cases See
                                           7   ECF 324 at 18. While claiming that the two cases they cite demonstrate the reasonableness
                                           8   of their rates, they actually involved rates which were hundreds of dollars per hour less than
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                                           9   those sought by Defendants. Nor are those two cases a substitute for the exhaustive review
                                          10   of hourly rates by Mr. Pierce, offered in support of Plaintiffs’ opposition to the original fee
                                          11   request, which included hourly rate reviews which are unassailable, and for that reason are
                                          12   not even mentioned by Defendants in seeking fees on fees. See ECF 321-4. Nor do
                                          13   Defendants show how their Fees on Fees are commensurate with any of the other long list of
                                          14   cases cited by Mr. Pierce, setting reasonable rates for precisely this type of litigation in
                                          15   precisely this District. Id.
                                          16           Defendants also try to justify their fees on fees by resorting yet again to the Valeo
                                          17   Report. ECF 324 at 18. Defendants claim that the Report is appropriately considered
                                          18   because some courts have found that it has limited utility, even though other courts have
                                          19   rejected it completely. See ECF 321 at 18. But simply looking at the methodology
                                          20   reflected in that report is sufficient to show why it has no utility here, and has been rejected
                                          21   elsewhere. First, the Valeo report does not even purport to address the appropriate
                                          22   standard, namely whether the “requested rates are in line with those prevailing in the
                                          23   community for similar services by lawyers of reasonably comparable skill, experience and
                                          24   reputation.” Blum v. Stenson, 465 U.S. 886, 89596 (1984). Second, it compares the
                                          25   Covington rates only with firms having the highest grossing revenues. In short, Covington
                                          26   was compared with a select number of firms with the highest rates, which naturally
                                          27   translates into higher revenues. That result-oriented analysis may be appropriate for some
                                          28
                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                                                                                                                                            ATTORNEY FEE
                                                                                           -7-                               APPLICATION FOR FEES ON FEES
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                                           1   analyses, but it has nothing to do with the proper lodestar analysis here, as determined in

                                           2   Blum and a host of other cases.

                                           3          C. PLAINTIFFS SHOULD NOT BE CHARGED FEES FOR A REVIEW
                                                         WHICH SHOULD HAVE OCCURRED AS PART OF NORMAL OFFICE
                                           4             OVERHEAD, AND WHICH FAILED EVEN TO DETERMINE WHICH
                                           5             CHARGES WERE RECOVERABLE

                                           6          Defendants now seek to be reimbursed for approximately ninety hours reviewing

                                           7   time records in order to submit their original fee request. This includes 74.8 hours claimed

                                           8   by Davis Wright for reviewing billing records and compiling them for the motion, see ECF
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                                           9   324-1 (Exhibit A to Burke Decl.). While Covington’s time records appear to reflect

                                          10   approximately 12.5 hours reviewing time records, see 324-2, Ex. A, that number fails to

                                          11   take into account that numerous entries are simply too vague to discern what task was being

                                          12   performed. See infra. The total amount of time – approximately 90 hours -- is grossly

                                          13   excessive for several reasons.

                                          14          First, it is apparent that Defendants never engaged in the normal task of reviewing

                                          15   time sheets in order to remove or reduce unnecessary, wasteful or redundant time entries.

                                          16   It is understandable that defense counsel never performed such a task because they were

                                          17   not billing a client, but proceeding on a pro bono basis. Nevertheless, it is grossly unfair

                                          18   for defendants to now claim, as they do, that are entitled to be compensated for the time

                                          19   to “review three years of time entries to determine which were compensable.” ECF 342-2 at

                                          20   2. Even accepting that some limited amount of time would be appropriate to determine which

                                          21   entries related to the anti-SLAPP motion, that is a far less time-consuming exercise than the

                                          22   review normally occurring at the time that clients would have been billed. That is a normal

                                          23   part of office-overhead and would not be billable. Nor can they justify having to review time

                                          24   records to redact attorney-client or work product privilege material, since all but a few of the

                                          25   entries fail to reflect whether the review was for that purpose or constituted part of its general

                                          26   review of time sheets.

                                          27          It is therefore impossible to tell how much of Defendants’ time was spent on what

                                          28   should have been a normal review of billing records. As the Court recognized in CoreCivic
                                                                                                      PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
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                                           1   relying on internal billing records may mask completely actual, appropriate charges. In that

                                           2   case the Court held that internal billing records offered by Davis Wright were inflated way

                                           3   beyond what the client was charged. Here, there is even more reason to question reliance

                                           4   on internal billing records. Defense counsel’s billing records reflect that a portion of the

                                           5   time for which recovery is sought was spent editing the billing records. See, e.g., ECF

                                           6   324-2 at 6 (entry for 4/23/21, “Review and edit time entries for the motion for attorneys’

                                           7   fees”); 4/26/21 (same). Clearly, the records submitted to the Court are not even

                                           8   contemporaneous time records, it is impossible to tell how the records were edited, or how
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                                           9   that impacted the actual time spent on a task.

                                          10         Second, time allocated to reviewing time sheets far exceeds what was reasonable,

                                          11   particularly since it appears that neither firm has engaged in the detailed review claimed.

                                          12   Mr. Burke acknowledged that errors were made reviewing their original data, including

                                          13   documents reviewed in connection with discovery and the number of hours and charges

                                          14   for non-recoverable activities such as settlement discussions. See ECF 324-1, ⁋ 7. He

                                          15   then yet again includes such fees in his request for fees on fees. See 4/7/21 (Burke)(entry

                                          16   for, among other things, “conference with S. Frankel re status of settlement discussions”).

                                          17          It is also difficult to accept hundreds of thousands of dollars in fees for conducting

                                          18   a detailed review of billing records when – even after Mr. Burke admitted that it was a

                                          19   mistake to include billing records relating to settlement discussions – he has provided the

                                          20   Court with “corrected records” which continue to charge for such time. The “corrected

                                          21   records” in Exhibit B to this declaration contain 31 time entries reflecting, for instance,

                                          22   “settlement discussions” or “settlement negotiations” including the following examples:

                                          23   ECF 324-1: 3/22/19 (Burke) (“Participate in conference with Magistrate Judge Kim and

                                          24   counsel for all parties to discuss a further potential settlement conference”); 4/16/18

                                          25   (Burke) (charges related to early settlement discussions); 5/3/19 (Burke) (discussing,

                                          26   inter alia, “strategy for upcoming settlement conference with the court”); 5/7/18 (Burke)

                                          27   (charges relating to scheduling raised by settlement conferences); 6/5/18 (Burke)

                                          28   (“identifying documentation CIR can easily provide to plaintiffs ahead of settlement
                                                                                                   PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
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                                           1   conference”). 6/5/18 (Charney) (same); 6/12/18 (Burke) (“telephone conference with Ms.

                                           2   Walters regarding settlement conference process”); 6/12/18 (Charney) (“call with T.

                                           3   Burke to discuss strategy and next steps for settlement conference”); 6/28/18 (Burke)

                                           4   (conferences with clients regarding settlement discussions).

                                           5          Nor should Plaintiffs be charged over $300,000 in fees on fees if the Court

                                           6   determines that the original fee request is excessive in any respect. See, e.g., Resolute

                                           7   Forest Products, Inc. Greenpeace International, 2020 WL 8877818, at 4 (N.D. Cal. April

                                           8   22, 2020) (citing Ford Motor Credit Co., LLC v. Gilbert, No. 6:15-cv-01610-JR, 2017
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                                           9   WL 2766168, at *4 (D. Or. June 26,2017). Defendants have no right to seek fees based

                                          10   on unreasonably high rates, or for irrelevant or unreasonable charges. There is nothing

                                          11   in the anti-SLAPP statute which even remotely suggests that a party should be

                                          12   compensated for requesting non-reimbursable charges or expenses.

                                          13          D. DEFENSE COUNSEL’S BILLING PRACTICES REQUIRE A
                                                         REDUCTION IN FEES ON FEES
                                          14

                                          15          Many of the billing entries contain the same flawed practices which Plaintiffs’ Expert
                                          16   identified previously. For instance, Mr. Glynn previously noted that it was unduly vague to
                                          17   describe a task as being to “assist with” or “follow-up” on some project or activity, see, e.g.,
                                          18   ECF 321-6, at 32. Defendants engage in the same billing practice in connection with the
                                          19   Fees on Fees Request. See, e.g., ECF 324-2 (3/24/21)(Hansen); (“follow-up on fees
                                          20   motion.”); 3/20/21 (Hansen)(“follow-up on fees motion”); 3/30/21 (Hansen)(follow up on
                                          21   fees re fees briefing); 5/5/21 (Hansen) (“follow up on fees motion”); 6/28/21 (Shi)(“attend
                                          22   to email correspondence); 3/29/21 (Jarboe) (“assist on projects. . . “); 4/27/21 (same); 5/3/21
                                          23   (Jarboe) (same); 5/4/21 (Jarboe); 5/5/21 (Jarboe) (same); 5/6/21 (Jarboe)(same); 7/6/21
                                          24   (Jarboe)(same); 7/7/21 (Jarboe)(same); 7/12/21 (Jarboe) (same).
                                          25          Such vague entries fail to say whether the biller was engaged in a task which would
                                          26   be deemed “clerical or administrative” in nature, and therefore incapable of justifying a fee
                                          27   request.   See Missouri v. Jenkins, 491 U.S. 274, 288, n.10 (1989)(denying recovery for
                                          28   “purely clerical or secretarial tasks”); Nadarahjah v. Holder, 569, 906 (9th Cir.
                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
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                                           1   2009)(denying recovery for secretarial tasks). The Court should not simply assume that the

                                           2   biller was involved in researching, drafting, reviewing or performing some other which

                                           3   would allow the Court to assess the reasonableness of the amount of time expended. Many

                                           4   of the entities say nothing that would allow the Court to perform its function of undertaking

                                           5   an independent review of the reasonableness of the fees.

                                           6          E.      COSTS SHOULD BE DISALLOWED.

                                           7          Defendants’ requests for costs contain the same deficiencies as the original request

                                           8   in that it seeks costs which are not recoverable in a federal proceeding, and second, contains
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                                           9   entries which are so vague that it is impossible to tell whether defendants are seeking

                                          10   reimbursement for activities which are clerical in nature and therefore non-recoverable. See

                                          11   ECF 321, ⁋⁋ 66, 71. In response to plaintiffs’ opposition to the initial motion, defendants

                                          12   have not even tried to offer any case or other citation demonstrating that any of the costs

                                          13   (other than electronic litigation support) are recoverable. This includes, with one exception,

                                          14   all of the costs now claimed by Covington in its latest fee request., see ECF 324-2, Ex. B.

                                          15   Defendants should be held to have waived any claim that such costs are recoverable.

                                          16          The sole exception relates to “litigation support services” by Davis Wright rendered

                                          17   to Covington. Id. In addition to the numerous charges sought in connection with the earlier

                                          18   request, Covington now seeks an additional $1800 for such services supposedly rendered by

                                          19   Davis Wright. See entries for 3/30/21; 5/11/21; 6/3/21 and 7/9/21. These descriptions, i.e.,

                                          20   “litigation support services” are unduly vague, and therefore render it impossible for the

                                          21   Court to determine whether they relate to clerical tasks which are not-recoverable. That

                                          22   conclusion is particularly appropriate since defendants have already billed for an outside

                                          23   vendor to provide electronic data management and support.

                                          24          All amounts assessed for costs should be denied.

                                          25   ///

                                          26   ///

                                          27   ///

                                          28   ///
                                                                                                    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
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                                           1                                              CONCLUSION

                                           2          Defendants’ attorney fee request for fees on fees should be denied or reduced

                                           3   substantially.   Based on the prior decisions awarding fees, attached as Exhibit A to the

                                           4   Rosenthal Declaration in opposition to the original request, if the Court awards fees at all, it

                                           5   would be appropriate to award approximately $35,000 for preparing the Fees on Fees

                                           6   Request.

                                           7                                                  Respectfully submitted,
                                                                                              NELSON, MULLINS, SCARBOROUGH &
                                           8                                                  RILEY
NELSON MULLINS RILEY & SCARBOROUGH, LLP




                                           9
                                                                                              /s/ Samuel Rosenthal (pro hac vice)
                                          10                                                  Attorneys for Plaintiffs Planet Aid, Inc.
                                                                                              and Lisbeth Thomsen
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                                                                                                     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
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